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                      EXHIBIT B

                     Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    AMYRIS, INC., et al.                                             Case No. 23-11131 (TMH)

                                                                     (Jointly Administered)
                              Debtors.1
                                                                     Re: Docket No. ___

               ORDER GRANTING THE AD HOC NOTEHOLDER GROUP’S
          MOTION FOR LEAVE TO FILE LATE REPLY IN SUPPORT OF MOTION
           OF THE AD HOC NOTEHOLDER GROUP FOR AN ORDER PURSUANT
          TO BANKRUPTCY RULE 2004 AND LOCAL BANKRUPTCY RULE 2004-1
        DIRECTING THE PRODUCTION OF DOCUMENTS BY THE FORIS LENDERS

             UPON CONSIDERATION of The Ad Hoc Noteholder Group’s Motion for Leave to File

Late Reply in Support of Motion of the Ad Hoc Noteholder Group for an Order Pursuant to

Bankruptcy Rule 2004 and Local Bankruptcy Rule 2004-1 Directing the Production of Documents

by the Foris Lenders (the “Motion”),2 it is hereby ordered that:

             1.     The Motion is GRANTED.

             2.     The Ad Hoc Group is permitted to file the Reply.

             3.     The Reply attached to the Motion as Exhibit A is hereby deemed timely filed.




1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
2
    Capitalized terms used herein but not otherwise defined shall have the meanings ascribed in the Motion.
